
32 N.Y.2d 852 (1973)
In the Matter of Edward J. Drayson, Appellant,
v.
Board of Trustees of the Police Pension Fund of the City of New York, Article 2, Respondent.
Court of Appeals of the State of New York.
Argued April 27, 1973.
Decided May 30, 1973.
Harold Dublirer for appellant.
Norman Redlich, Corporation Counsel (Jesse J. Fine and Stanley Buchsbaum of counsel), for respondent.
Concur: Chief Judge FULD and Judges BURKE, BREITEL, JASEN, GABRIELLI, JONES and WACHTLER.
Order affirmed, without costs; no opinion.
